Case 1:21-cv-23861-JEM Document 118 Entered on FLSD Docket 08/02/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 21-cv-23861

  10 MINUTE FITNESS INC. d/b/a
  ZAAZ,

         Plaintiff,

  v.

  AMENTUM SERVICES, INC. f/k/a
  URS FEDERAL SERVICES, INC. and NAR
  ELECTRONICS HOLDING
  GROUP INC. f/k/a NAR ELECTRONICS
  SOLUTIONS, LLC,

        Defendants.
  ___________________________________________/

  AMENTUM SERVICES, INC. f/k/a
  URS FEDERAL SERVICES, INC.,

         Third-Party Plaintiff,

  v.

  NAR ELECTRONICS HOLDING
  GROUP INC. and NAR ELECTRONICS
  SOLUTIONS, LLC,

         Third-Party Defendants.

  ___________________________________________/

                      DEFENDANT AMENTUM SERVICE’S INC.’S
                 MOTION FOR ENTRY OF JUDGMENT UNDER RULE 58(d)

         Defendant, Amentum Services, Inc. f/k/a URS Federal Services, Inc. (“Amentum”), moves

  for entry of judgment in its favor under Federal Rule of Civil Procedure 58(d) and states the

  following in support:
Case 1:21-cv-23861-JEM Document 118 Entered on FLSD Docket 08/02/2023 Page 2 of 4




       1.        Plaintiff, 10 Minute Fitness Inc. d/b/a ZAAZ (“Plaintiff” or “ZAAZ”), sued

  Amentum on November 2, 2021, for one count of negligence for allegedly failing to dispose of

  ZAAZ 20k whole-body vibration machines. (ECF Nos. 1, 35.)

       2.        On June 27, 2023, this Court granted Amentum’s motion for judgment on the

  pleadings. (ECF No. 113.) The Court, in turn, dismissed the action without prejudice, noting that

  “Plaintiff may file a motion for leave to amend the complaint on or before July 26, 2023.” The

  Court, in its Order, further noted that, “[s]hould Plaintiff not file the motion for leave by the given

  deadline, this case shall be dismissed with prejudice without further warning.” (Id. at 8

  (emphasis in original).)

       3.        Here, Plaintiff has failed to “file a motion for leave to amend the complaint” by

  July 26, 2023. Accordingly, the Plaintiff’s action is now dismissed with prejudice, consistent with

  this Court’s dismissal order. (ECF No. 113.)

       4.        Federal Rule of Civil Procedure 58(d) states that “[a] party may request that

  judgment be set out in a separate document as required by Rule 58(a).” Subsection (a) states that

  “[e]very judgment and amended judgment must be set out in a separate document…[,]” except for

  certain exceptions that are not applicable here.

       5.        Amentum seeks a final judgment in this case and requests that the Court enter a

  judgment dismissing the action with prejudice, and an Order closing the case subject to the Court’s

  reserving jurisdiction to adjudicate post-judgment requests for costs under Rule 54(d). A proposed

  Final Judgment is attached as Exhibit A.




                                                     1
Case 1:21-cv-23861-JEM Document 118 Entered on FLSD Docket 08/02/2023 Page 3 of 4




         For the above reasons, Amentum respectfully requests that this Court enter judgment for

  Amentum in this case.

  Dated: August 2, 2023

                                                Respectfully submitted,

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                                                /s/ Israel Encinosa

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                                                Amentum Services, Inc.




                                                2
Case 1:21-cv-23861-JEM Document 118 Entered on FLSD Docket 08/02/2023 Page 4 of 4




                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 2, 2023, a true and correct copy of the foregoing was filed

  with the Clerk of Court via the Court’s CM/ECF system, which shall serve a copy of same upon

  counsel for Plaintiff.

  By:     /s/ Israel Encinosa




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